10-03635-jpm   Doc 1-2   Filed 09/21/10 Entered 09/21/10 11:48:37   ntc rem   Pg
                                      1 of 9
10-03635-jpm   Doc 1-2   Filed 09/21/10 Entered 09/21/10 11:48:37   ntc rem   Pg
                                      2 of 9
10-03635-jpm   Doc 1-2   Filed 09/21/10 Entered 09/21/10 11:48:37   ntc rem   Pg
                                      3 of 9
10-03635-jpm   Doc 1-2   Filed 09/21/10 Entered 09/21/10 11:48:37   ntc rem   Pg
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10-03635-jpm   Doc 1-2   Filed 09/21/10 Entered 09/21/10 11:48:37   ntc rem   Pg
                                      5 of 9
10-03635-jpm   Doc 1-2   Filed 09/21/10 Entered 09/21/10 11:48:37   ntc rem   Pg
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10-03635-jpm   Doc 1-2   Filed 09/21/10 Entered 09/21/10 11:48:37   ntc rem   Pg
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10-03635-jpm   Doc 1-2   Filed 09/21/10 Entered 09/21/10 11:48:37   ntc rem   Pg
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10-03635-jpm   Doc 1-2   Filed 09/21/10 Entered 09/21/10 11:48:37   ntc rem   Pg
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